     Case 3:12-cv-01794-SRU Document 49 Filed 06/25/14 Page 1 of 3



             LOG OF ATTORNEY/CLIENT PRIVILEGED DOCUMENTS

Log of Attorney-Client Privileged Documents

The following are documents not delivered due to attorney/client privilege:

   1. Retainer Agreement with Halloran & Sage LLP.

   2. Internal Memo drafted by Uri Kaufman, Esq. re the Cease and Desist Order.

   3. Retainer Agreement from Cohn Birnbaum & Shea.

   4. Conflict of Interest Waiver Agreement with the law firm of Jacobi & Case.

   5. Retainer Letter, not executed, with the Law Offices of Martha Dean.

   6. Draft Assignment Agreement between E&A & Quinnipiac Energy containing

      Uri Kaufman’s handwritten comments.

   7. Memos and other attorney work product related to the DEEP Administrative

      Order issued in April, 2013.

   8. Memos and other attorney work product related to the demolition contracts

      executed with Grant McKay Demolition Company (“GM”) as well as the

      payment & performance bonds related to those contracts.

   9. Memos and other attorney work product related to the litigation between

      Evergreen Power LLC & Asnat Realty LLC (“E&A”) and United Illuminating

      Company (“UI”) over the easement UI purports to hold over the English

      Station site (the “Site”).

   10. Retainer letter with attorney Elliot Gersten, Esq.

   11. Memos and other attorney work product related to the litigation between

      E&A and GM.

   12. Retainer letter with attorneys Hiscock & Barclay LLC.



                                          1
  Case 3:12-cv-01794-SRU Document 49 Filed 06/25/14 Page 2 of 3



13. Invoices from Halloran & Sage LLC including description of legal work

   performed.

14. Memos and other attorney work product related to the lease executed

   between E&A and QE.

15. Retainer letter and agreements with attorneys Jacobi & Case LLC.

16. Retainer letter with attorneys Saltzman & Wallman, LLP.

17. Retainer letter with attorneys Levy & Droney, LLP.

18. Memos and other attorney work product related to the purchase agreement

   executed between E&A and QE.

19. Retainer letter with attorney Sheldon Schorer.

20. Memos and other attorney work product related to the litigation between

   E&A and UI over the environmental liability.

21. Memos and other attorney work product related to the zoning of the Site.

22. Proposed retainer letter from Nixon Peabody.

23. Legal memo from Nixon Peabody.

24. Attorney letter from Nicholas Harding, Esq., dated April 30, 2008.

25. Attorney work product of Uri Kaufman, Esq. related to Securities and

   Exchange Commission filing.

26. Attorney work product of Uri Kaufman, Esq. related to tax certiorari filing.

27. Attorney work product of Uri Kaufman, Esq.

28. Drafts of agreements with Harbert Power, representing the attorney work

   product of Uri Kaufman, Esq.

29. Communications with attorney Jules Epstein, Esq.



                                       2
 Case 3:12-cv-01794-SRU Document 49 Filed 06/25/14 Page 3 of 3



30. Retainer agreement with attorney John Acompora, Esq.




                                    3
